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                             14                                UNITED STATES BANKRUPTCY COURT
      767 Fifth Avenue




                             15                                NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                             16

                             17                                               Bankruptcy Case No. 19-30088 (DM)
                             18     In re:                                    Chapter 11 (Lead Case) (Jointly Administered)
                             19     PG&E CORPORATION,                         NOTICE OF HEARING ON MOTION OF
                                                                              DEBTORS PURSUANT TO 11 U.S.C. §§ 363 AND
                             20              - and -                          105(a) FOR AN ORDER APPROVING TERMS
                             21     PACIFIC GAS AND ELECTRIC                  OF EMPLOYMENT FOR NEW CHIEF
                                    COMPANY,                                  EXECUTIVE OFFICER AND PRESIDENT OF
                             22                                               PG&E CORPORATION
                                                                   Debtors.
                             23                                               Date: July 24, 2019
                                     Affects PG&E Corporation                Time: 9:30 a.m. (Pacific Time)
                             24      Affects Pacific Gas and Electric        Place: United States Bankruptcy Court
                                    Company                                          Courtroom 17, 16th Floor
                             25      Affects both Debtors                           San Francisco, CA 94102

                             26     * All papers shall be filed in the Lead   Objection Deadline: July 17, 2019
                                    Case, No. 19-30088 (DM).                                      4:00 p.m. (Pacific Time)
                             27

                             28



                              Case: 19-30088           Doc# 2663   Filed: 06/19/19   Entered: 06/19/19 22:08:12    Page 1 of
                                                                               2
 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
 2   “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 3   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 4

 5          PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     July 24, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 6   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102.
 7
             PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard at
 8
     the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Motion of Debtors Pursuant to
 9   11 U.S.C. §§ 363 and 105(a) for an Order Approving Terms of Employment for New Chief Executive
     Officer and President of PG&E Corporation filed by the Debtors on June 19, 2019 [Dkt. No. 2662]
10   (the “Motion”).
11           PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Motion must
     be in writing, filed with the Bankruptcy Court, and served on the counsel for the Debtors at the
12
     above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on
13   July 17, 2019. Any oppositions or responses must be filed and served on all “Standard Parties” as
     defined in, and in accordance with, the Second Amended Order Implementing Certain Notice and
14   Case Management Procedures entered on May 14, 2019 [Dkt No. 1996] (the “Case Management
     Order”). Any relief requested in the Motion may be granted without a hearing if no opposition
15   is timely filed and served in accordance with the Case Management Order. In deciding the
16   Motion, the Court may consider any other document filed in these Chapter 11 Cases and related
     Adversary Proceedings.
17
              PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
18   can be viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov,
     (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
19   94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC , at
     https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
20
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
21   Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.

22   Dated: June 19, 2019
                                            WEIL, GOTSHAL & MANGES LLP
23                                          KELLER & BENVENUTTI LLP

24                                           /s/ Jane Kim
                                             Jane Kim
25
                                             Attorneys for Debtors and Debtors in Possession
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